

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-69,258-01






EX PARTE GREGORY DAVIS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 11,534 IN THE 115TH DISTRICT COURT


FROM UPSHUR COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated sexual assault and
sentenced to thirty years' imprisonment. The Twelfth Court of Appeals affirmed his conviction. Davis v.
State, No. 12-96-00106-CR (Tex. App.-Tyler, delivered Sept. 24, 1997, no pet.). 

	Applicant contends that his appellate counsel rendered ineffective assistance because he failed to
timely notify Applicant that his conviction had been affirmed and failed to advise him of his right to petition
for discretionary review pro se.

	Applicant has alleged facts that, if true, might entitle him to relief. Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000). In these
circumstances, additional facts are needed. Pursuant to Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex.
Crim. App. 1960), the trial court is the appropriate forum for findings of fact. The trial court shall provide
appellate counsel with the opportunity to respond to Applicant's claim of ineffective assistance of counsel
on appeal. The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d). In the
appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to
represent him at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant's appellate counsel timely
informed Applicant that his conviction had been affirmed and that he had a right to file a pro se petition for
discretionary review. The trial court shall also make findings of fact as to whether the destruction of prison
mail logs prejudiced the State's ability to respond. Ex parte Carrio, 992 S.W.2d 486, 488 (Tex. Crim.
App. 1999). The trial court shall make any other findings of fact and conclusions of law that it deems
relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The issues
shall be resolved within 90 days of this order. If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order. Any extensions of time shall be obtained from this Court. 


Filed: February 13, 2008

Do not publish


